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          IN THE UNITED STATES DISTRICT COURT
         FOR THE SOUTHERN DISTRICT OF GEORGIA


IN RE: CASE ASSIGNMENTS                    MISC. NO.: 1:23-mc-024



                               ORDER

     Chief Judge Hall reassigned several cases from the Honorable

William T. Moore, Jr. to the Honorable R. Stan Baker. (See doc. 1 at 1,

3-4.) The undersigned is the assigned Magistrate Judge for the cases

identified on Exhibit 1.   The Clerk of Court is DIRECTED to enter

Judge Baker’s Rule 26 Instruction Order as well as a copy of this Order

in each of the cases identified on Exhibit 1. The Rule 26 Instruction

Order provides instructions for conferring and submitting Rule 26(f)

Reports. In any of the reassigned cases in which the Court has already

entered a scheduling order, the parties are not required to submit a

renewed Rule 26(f) Report. In any of the reassigned cases in which the

Court has not entered a scheduling order, the parties are DIRECTED to

comply with the Rule 26 Instruction Order’s requirements for conferring

and submitting a Rule 26(f) Report.
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     If any discovery disputes should arise in any of the reassigned

cases, the parties must comply with the procedures contained in the

“Resolution of Discovery Disputes” portion of the Rule 26 Instruction

Order.   Finally, the parties in each of the reassigned cases are

DIRECTED to use the undersigned’s forms and those of Judge Baker,

available on the Court’s website, for any applicable filings. The parties

are not required to re-submit any previously-filed documents unless

directed by the Court.

     SO ORDERED, this 24th day of October, 2023.



                            CHRISTOPHER
                                STO
                                  OPH
                                    HER L. RAY
                            UNITED STATES MAGISTRATE JUDGE
                            SOUTHERN DISTRICT OF GEORGIA




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                             EXHIBIT 1

     Case                              Caption
   Number
4:19-cv-00169   Cocke, et al. v. United States of America, et al.
4:19-cv-00174   Hunter, et al. v. United States of America, et al.
4:21-cv-00095   Goldwire v. Alston, et al.
4:22-cv-00067   Hodges, et al. v. Chatham County, Georgia, et al.
4:22-cv-00114   Gregg v. McDonough
4:22-cv-00170   Terrell v. The United States of America
4:22-cv-00263   Piacentini, et al v. The United States of America,
                Department of Treasury, Internal Revenue Service
4:22-cv-00276   Turner v. Camping World, Inc., et al.
4:22-cv-00291   Crestwood Management, LLC, et al. v. Ferguson, et al.
4:23-cv-00030   Ulino v. HHC TRS Savannah, LLC, et al.
4:23-cv-00046   Thomas v. Pangburn
4:23-cv-00144   Chapman v. Wal-Mart Stores East, LP, et al.
4:23-cv-00157   Ward v. Lowes Home Centers, LLC, et al.
4:23-cv-00169   Nails v. Sedgwick Claims Management Services, Inc.,
                et al.
4:23-cv-00197   Gray v. Hemminger
4:23-cv-00190   Global Ordnance, LLC, et al. v. Evans Delivery
                Company, Inc., et al.
4:23-cv-00213   Hargrove v. HCA, et al.
4:23-cv-00221   United States of America v. Shambayati, et al.
4:23-cv-00227   Hamilton v. Freeport Transportation, LLC




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